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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


INTERNATIONAL HUMAN RIGHTS
                                                :1.




COMMISSION,                *
                                                *
                                                ,F
                 Plaintiff,
                                                d(



        v.                                      *        1   :18-CV-00065-ELR
                                                *
U.S. CUSTOMS AND BORDER
                                                {<

                                                :1.
PROTECTION, et a1.,
                                                *
                 Defendants.                    *
                                                *



                                          ORDER

        Ptaintiff filed the Complaint in this action on January 4,2018. Compl. [Doc

1]. The Court entered         an Order on May 8,2018, directing Plaintiff to show either

that service had in fact been properly made or why Plaintiff had been unable to

serve Defendants. [Doc.         4]. The Court warned that Plaintiff s failure to make   such


a showing would result in dismissal of this action without prejudice.       tld.]

        On May 17, 2018, Plaintiff filed summonses to be issued to Defendants.

[Doc.   5].    That same day, Plaintiff then filed a notice of filing proof of service of

summons and Comptaint stating that "Plaintiff has served the Summons and

Complaint in the above captioned action on Defendants . . . as evidenced by the
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Proof of Service of Summons and Complaint attached hereto. . . ." [Doc. 6].

Proof of service was not attached to Plaintiff s notice. However, a "Declaration of

Service by    Mail" was   attached, which states "[t]hat on   May 17, 2018, [Plaintiff   s


counsel] served the [notice] by depositing a true copy thereof in a United States

mailbox. . . ." [Id. at   3].   Furthermore, Plaintiff s notice states "Service List     -
0511712018" and list all Defendants in this   action. [Id. at 4].

      As noted in the Court's May 8,2018 Order, Federal Rule of Civil Procedure

a(m) provides the following:

      If   a defendant is not served within 90 days after the complaint is filed,
      the court-on motion or on its own after notice to the plaintiff-must
      dismiss the action without prejudice against that defendant or order
      that service be made within a specified time. But if the plaintiff shows
      good cause for the failure, the court must extend the time for service
      for an appropriate period. This subdivision (m) does not apply to
      service in a foreign country
      under Rule 4(f) or 40Xl).

      Plaintiff did not serve Defendant within ninety (90) days after the Complaint

was filed on January 4, 2018. The Court then notified Plaintiff that service was

not showing on the record. [Doc. 4]. The Court also warned that Plaintiff s failure

to show either that service had been made or why Plaintiff had been unable to

serye Defendants would result        in   dismissal   of this action without   prejudice.

Plaintiff has not shown cause, much less good cause, for not serving Defendants
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within the ninety-day period.l Plaintiff also never sought an extension of time to

serve Defendants. Accordingly, the Court                   will dismiss Plaintiffs         Complaint

without prejudice.

       For the        foregoing reasons,           the Court DISMISSES WITHOUT
PREJUDICE Plaintiffs Complaint [Doc. 1] and DIRECTS the Clerk to close

this case.

       SO ORDERED,           tnis*ay           of May,2018.


                                                         Ud        Zleu
                                                        Et.r*. L R"*
                                                        United States District Judge
                                                        Northern District of Georgia




I Because Defendants are United States government agencies this case was administratively
stayed due to a lapse of appropriations. [Doc. 3]. However, this stay was only in effect until
"Congress has appropriated funds for the Department or enacted another continuing resolution"
[Id. at 3], thus, even in light of this limited stay, Plaintiff still did not serve Defendants within the
ninety-day period.
